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16583949 The LCF Group           c/o The Feldman Law Firm            147 Willis Avenue         Mineola NY 11501
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